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                                                       DATE FILED: January 26, 2021 2:43 PM
 DISTRICT COURT, DENVER COUNTY, COLORADOFILING ID: F23517FFF8369
 1437 Bannock Street                    CASE NUMBER: 2021CV30302
 Denver, CO 80202
 (720) 865-8301

 Plaintiffs: FRONTIER AIRLINES INC; and ALLIANZ
 GLOBAL RISKS US INSURANCE COMPANY Individually
 and       o/b/o OTHER    CERTAIN    INTERESTED
 UNDERWRITERS a/s/o FRONTIER GROUP HOLDINGS,
 INC. and FRONTIER AIRLINES, INC.

 v.                                                                ▲COURT USE ONLY▲

 Defendant: MENZIES AVIATION (USA) INC. a foreign
 corporation
 Counsel for Plaintiffs
 Jennifer A. Poynter, #24619                                     Case Number:
 Andrew Thorn, #40138                                            Div:      Ctrm:
 POYNTER LAW LLC
 6860 S. Yosemite Ct., Suite 2000
 Centennial, CO 80112
 Phone (303) 991-2229
 Email: jennifer@poynterlawllc.com
          athorn@poynterlawllc.com


                                        COMPLAINT


        Plaintiffs, FRONTIER AIRLINES INC; and ALLIANZ GLOBAL RISKS US
 INSURANCE COMPANY individually and o/b/o OTHER CERTAIN INTERESTED
 UNDERWRITERS a/s/o FRONTIER GROUP HOLDINGS, INC. and FRONTIER AIRLINES,
 INC. by and through counsel, Poynter Law LLC, hereby submits the following Complaint against
 the above-named Defendant:

                        PARTIES, JURISDICTION AND VENUE
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        1.      Plaintiff Allianz Global Risks US Insurance Company is an insurance company
licensed to do business in Colorado. Pursuant to Policy A1AL000667218AM Allianz insured
Plaintiff Frontier and served as the Lead Insurer for a market of insurers who also underwrote the
interests of Frontier; they included Starr Surplus Line Insurance Company/Starr Aviation Agency,
Inc. (SASLAMR63619418-06); Member Co.’s of Global Aerospace, Inc. through Global
Aerospace (108412/18); Isosceles Insurance Limited/JLT Insurance Management (Bermuda) Ltd.
(J51816346); Various Underwriters at Lloyds & Certain Insurance Co.’s through JLT Specialty
Limited (J51816344); Old Republic Insurance Company/Old Republic Aerospace (RAL000021-
04); National Union Fire Ins. Co. of Pittsburgh, PA through AIG Aerospace Insurance Services,
Inc. (HL013468407-02); QBE Insurance Corporation through QBE North America
(QAVC000347); Mitsui Sumitomo Insurance USA, Inc. through Air Centurian, Inc. Services LLC
(ACQA-17-00058-02)

       2.      At all times relevant, the market of insurers set forth above and led by Allianz
provided insurance for Plaintiffs Frontier Group Holdings, Inc. and Frontier Airlines, Inc.
(“Frontier”) and more specifically provided property insurance for Frontier’s operations at the
Denver International Airport.

        3.     Plaintiff Frontier Airlines Inc. was and is Colorado corporations authorized to do
business in and in fact doing business in Colorado and was and is domiciled in Colorado with a
principal place of business being 4545 Airport Way, Denver, Colorado 80239.

        4.      Defendant Menzies Aviation (USA) Inc. (“Menzies”) is a Delaware Corporation
with a principal address of 4900 Diplomacy Road, Fort Worth Texas 76155 and a registered agent
for service of process at Corporation Service Company, 251 Little Falls Drive, Wilmington, DE
19808.

       5.     This Court has jurisdiction of this matter pursuant to C.R.S. § 13-1-124 or otherwise
under Colorado statutes and law.

        6.     Venue is proper in this Court pursuant to C.R.C.P. 98 because the subject incident
occurred in Denver County, Colorado and the Contract between the Parties specifically dictates
that any dispute between the Parties be brought in a Court of competent jurisdiction in Colorado.

                                 GENERAL ALLEGATIONS

        7.   Defendant Menzies entered into an agreement (the “Contract”) with Frontier for
Ground Handling Services at the Denver International Airport (this contract is attached as Exhibit
1 to this Complaint dated January 1, 2018 and is titled STANDARD GROUND HANDLING
AGREEMENT – SIMPLIFID PROCEDURE – ANNEX B10-0 – LOCATION, AGREED
SERVICES AND CHARGES.




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        8.      On 28 January 2019 Menzies was operating a “tug” pushing back a Frontier aircraft
(bearing tail number N220FR) while pushing back said aircraft from the gate it had been parked
at during normal business operations; as such Menzies was acting as the Ground Handler for the
aircraft in question.

        9.      On said date the Menzies tug operator lost control of the tug and the tug slid into
the aircraft damaging its nose landing gear, the aircraft’s tow bar, the aircraft’s forward cargo door
and the Number 2 engine cowl.

       10.     The damage done to the plane by Menzies was in excess of $3,000,000.00 USD.
The damages incurred were damages which were directly related to the subject matter of the
contract, to wit: the operation and handling of all equipment needed for the Frontier aircraft to
operate properly and safely at the airport (otherwise known as Ground Support Services (“GSS”)
using Ground Services Equipment to carry out that work (“GSE”).

        11.      A claim for said damage was presented by Frontier to Menzies which has not been
satisfied.

        12.     As a result of the incident, Plaintiff insurance carriers paid damages on behalf of
their insured, Frontier, under a policies of insurance in place at the time of the loss in an amount
of $2,322,576.46 and are now equitably and legally subrogated to Frontier’s claims against
Defendant. Frontier suffered a deductible loss of $750,000 for the damages incurred as set forth
herein.

                                   FIRST CLAIM FOR RELIEF
                                      (Negligence - Menzies)

       13.     Plaintiffs incorporate by reference the allegations contained in the previous
paragraphs as though fully set forth herein.

       14.    Defendant Menzies had a duty to use reasonable care, to provide the Ground
Handling and Support Services in a safe, adequate, skillful and competent manner, and to avoid
causing harm to the property of Frontier.

       15.       Defendant Menzies breached its duty and was negligent by:

              a. Carelessly and recklessly driving the tug in question into the aircraft in question;

              b. Failing to properly train their employees relative to operating the equipment at issue
                 in snowy or icy weather conditions;




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            c. Failing to take appropriate actions in light of the snow and ice present while
               engaged in the afore-described activities;

            d. Failing to properly analyze the hazards present in the inclement weather at hand
               and take the appropriate steps to prevent damage to Frontier’s aircraft;

            e. Failed to communicate properly with Frontier personnel during the incident in
               question to avoid the tug and the aircraft in question making contact;

            f. Damaging the property of Frontier.

      16.      Frontier’s property was damaged as a result of the negligence of Defendant
Menzies.

        17.    As a result of the negligence of Defendant Menzies, Plaintiffs sustained damages
in an amount in excess of $3,000,000.00 USD.


                                SECOND CLAIM FOR RELIEF
                                 (Breach of Contract - Menzies)

       18.     Plaintiffs incorporate by reference the allegations contained in the previous
paragraphs as though fully set forth herein.

      19.     On or about January 1, 2018, Frontier and Defendant Menzies entered into a written
agreement regarding Ground Support Services as set forth herein.

         20.    The agreement obligated Defendant Menzies to carry out many tasks for Frontier
in satisfaction of the terms of the contract, one of which was to use a tug to assist in the movement
of aircraft away from a gate at the airport; in doing so, Menzies caused damage to the very property
that Menzies was entrusted with (the aircraft it was moving, and in part, the subject matter of the
contract).

       21.     Demand was made by Frontier on Menzies to reimburse them for the damages
caused, to no avail.

        22.    Defendant Menzies breached the terms of the agreement by failing to carry out their
services for Frontier in accord with the contract terms in place, by damaging the aircraft as set
forth herein and by failing to reimburse Frontier for the damages Menzies caused to the aircraft in
question.

      23.     As a result of Menzies’ breach of their contract with Frontier, Plaintiffs sustained
damages in an amount in excess of $3,000,000.00 USD.



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                                   PRAYERS FOR RELIEF

       Plaintiffs pray for judgment against Defendant as follows:

       1.      For compensatory damages in amounts to be determined at trial;
       2.      For Plaintiff’s costs and expenses incurred herein;
       3.      For interest as allowed by law;
       4.      For attorneys’ fees as allowed by law; and
       5.      For such other and further relief as the Court deems just and equitable.

       Dated this 26th day of January, 2021.

                                                     Respectfully submitted,

                                                     POYNTER LAW LLC

                                                     s/ Jennifer Poynter
                                                     Jennifer A. Poynter - No. 24619
                                                     Andy Thorn – No. 40138
                                                    ATTORNEY FOR PLAINTIFFS

Plaintiff’s Address:
4545 Airport Way
Denver, CO 80239




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